Case 2:96-cV-02520-.]PI\/| Document 833 Filed 06/08/05 Page 1 of 5 Page|D 1067

FH.E[} !':`;‘r' JM D.C.

 

IN THE uNITED sTA':-Es DISTRICT coURT
FoR THE wEsTERN DISTR:ccT oF TENNESSEE 05 JUN -8 PH 14= |5
wEs'I-ERN nlesIoN

FEOEEHTR. UETROUO

cusv. 55. mSY.CI
W_D 05 YN lr,\fEMPHlS
DARIUS D. LITTLE,

Plaintiff,
v.

Nc. 96-2520 Ml

SHELBY COUNTY, TENNESSEE,
et al.,

Defendants.

v\_d~_a\_d~_d~_¢'-_d\_¢vv~_¢

 

ORDER OF CORRECTION

 

The Court hereby corrects the Opinion Finding Defendants in
Contempt of Court issued on December 22, 2000, (Docket No. 233.),
as follows: the word “Thomas” appearing on the twentieth line of
page twenty shall be replaced with the word “Taylor.” The Court
has attached a corrected version of page twenty of the December
22, ZOOO, opinion as Appendix A. The Clerk is hereby ORDERED to
replace page twenty of the December 22, 2000, Opinion with the

corrected version attached as Appendix A.

So ORDERED this é§th day of June 2005.

90 fn (M

P. MCCALLA
OITED STATES DISTRICT JUDGE

 

Th‘es document entered on the docket sheet ln compliance
wheRme§BanMor?Sw)FRCPon

 

Case 2:96-cV-02520-.]PI\/| Document 833 Filed 06/08/05 Page 2 of 5 Page|D 1068

APPEN'DIX A

Case 2:96-cV-02520-.]PI\/| Document 833 Filed 06/08/05 Page 3 of 5 Page|D 1069

on their posts when the Thunderdome fights happened, were on the
post and did not stop the fights, or were asleep on the post. (Tr.
at 53~54, 56, 67-68, 96-97, 104-05, 115, 124, 126, 148, 160-61.)

The testimony revealed that the non-gang members are afraid of
the gang members. In the vast majority of the incidents where an
inmate is beaten knf a gang member, the victim will not press
charges for fear of retaliation by the gang. (Tr. at 59-60, 106-
09, 413.) Even when the inmates do press charges, often nothing is
done because the disciplinary office is routinely closed due to
staff shortages. (Tr. at 287-89, 665»69, 854.) If a hearing is
not held on an incident report within 72 hours, the charges are
dropped. (Tr. at 287~88, 661-63.) lt is common knowledge among
the inmates and guards that many of the incident reports are never
acted upon. (Tr. at 287-89, 851-52.)

In addition to inmates being intimidated.by gang members, many
guards are likewise afraid of gang members. (Tr. at 298-99, 85l-
53.) This fear often causes the guards to refrain from punishing
the inmates or writing up the inmates for violations. (Tr. at 851h
53.) Many guards are intimidated by the gang members because of
the nmrder of Sergeant Dedrick Taylor who was killed by gang
members outside the jail as a result of a “hit” that had been
ordered from a phone in a pod within the Jail. (Tr. at 298, 856.)
This fear of inmates often makes controlling the inmates difficult

and.increases the risk to other inmates of physical violence. (Tr.

20

   

UN1ED` Ts D1SR1C COURT - v\/RNESTE 1DR1CT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 833 in
case 2:96-CV-02520 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Financial Unit
FINANCIAL UNIT
167 N. Main St.
Room 242
1\/1emphis7 TN 38103

Murray B. Wells

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

1\/1emphis7 TN 38103

Kathleen Spruill

COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Brian L. Kuhn

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Robert L. Hutton
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Arthur E. Horne

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

1\/1emphis7 TN 38103

Case 2:96-cV-02520-.]PI\/| Document 833 Filed 06/08/05 Page 5 of 5 Page|D 1071

Adam F. Glankler
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

